                                                    Notice Recipients
District/Off: 0314−5                          User: DDunbar                        Date Created: 10/29/2019
Case: 5:19−bk−04294−RNO                       Form ID: ordsmiss                    Total: 5


Recipients of Notice of Electronic Filing:
ust         United States Trustee         ustpregion03.ha.ecf@usdoj.gov
tr          Charles J DeHart, III (Trustee)        dehartstaff@pamd13trustee.com
                                                                                                                 TOTAL: 2

Recipients submitted to the BNC (Bankruptcy Noticing Center):
db          Kim R. Cangiano       889 North Street    Freeland, PA 18224
cr          PRA Receivables Management, LLC        PO Box 41021       Norfolk, VA 23541
5255707     Synchrony Bank       c/o PRA Receivables Management, LLC       PO Box 41021             Norfolk, VA 23541
                                                                                                                 TOTAL: 3




    Case 5:19-bk-04294-RNO Doc 12-1 Filed 10/29/19 Entered 10/29/19 15:14:31                                            Desc
                      Order Dismissing: Notice Recipients Page 1 of 1
